     Case 3:20-cr-03628-LAB Document 15 Filed 11/24/20 PageID.15 Page 1 of 1




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 3                          UNITED STATES DISTRICT COURT
 4                         SOUTHERN DISTRICT OF CALIFORNIA
 5

 6   UNITED STATES OF AMERICA,                    Case No. 20-cr-03628-LAB

 7                          Plaintiff,            I N F O R M A T I O N

 8        v.                                      Title 21, U.S.C.,
                                                  Secs. 952 and 960 -
 9   AARON DAVID FARRELL,                         Importation of
                                                  Methamphetamine (Felony)
10                          Defendant.

11

12        The United States Attorney charges:
13        On or about October 22, 2020, within the Southern District of
14 California,     defendant,     AARON   DAVID    FARRELL,    did   knowingly   and
15 intentionally import 500 grams and more, to wit:             approximately 47.66
16 kilograms (105.07 pounds) of a mixture and substance containing a

17 detectable     amount    of   methamphetamine,      a   Schedule II    Controlled
18 Substance, into the United States from a place outside thereof; in

19 violation of Title 21, United States Code, Sections 952 and 960.

20                 11/15/20
          DATED: _______________.
21                                          ROBERT S. BREWER, JR.
                                            United States Attorney
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24                                          NELSON F. CANDELARIO
                                            Assistant U.S. Attorney
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     NFC:am:10/29/2020
